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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SARAH M. CARLSON,                               )
                                                )
        Plaintiff,                              )
                                                )
        v.                                      )
                                                ) Civil Action No. 1:18-cv-01018 (RBW)
CENTRAL INTELLIGENCE AGENCY,                    )
                                                )
       Defendant.                               )
                                                )


                                   JOINT STATUS REPORT
       Pursuant to this Court’s January 23, 2019 Minute Order, the parties jointly submit this joint

status report, proposing the following deadlines:


       a. Defendant’s opposition to Plaintiff’s motion for attorney fees and costs shall be due by

             no later than February 15, 2019;

       b. Plaintiff’s reply in support of her motion for attorney fees and costs shall be due by no

             later than March 1, 2019.

       Dated: February 7, 2019                  Respectfully submitted,

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                                                Assistant Attorney General

                                                ANTHONY J. COPPOLINO
                                                Deputy Director, Federal Programs Branch

                                                /s/ Kevin M. Snell
                                                KEVIN M. SNELL
                                                Trial Attorney
                                                United States Department of Justice
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                                      /s/
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